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           EXHIBIT 3
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

 WSOU INVESTMENTS, LLC D/B/A                     §
 BRAZOS LICENSING AND                            §     Case No. 6:20-cv-00956-ADA
 DEVELOPMENT,                                    §
           Plaintiff,                            §     JURY TRIAL DEMANDED
                                                 §
 v.                                              §
                                                 §
 ONEPLUS TECHNOLOGY                              §
 (SHENZHEN) CO., LTD.,                           §
           Defendant.                            §



                          PLAINTIFF’S DISCLOSURES OF
                    PRELIMINARY INFRINGEMENT CONTENTIONS

       Pursuant to the Court’s Order Governing Proceeding – Patent Case (“Order Governing

Proceeding”), Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development

(“WSOU”) hereby provides its Initial Infringements Contentions to defendant OnePlus

Technology (Shenzhen) Co., Ltd. (“OnePlus” or “Defendant”) for U.S. Patent No. 7,477,876 (the

“’876 Patent”).

       WSOU makes this disclosure based on the information presently available to it. Discovery

in this case has not started, and WSOU reserves its right to amend or supplement these disclosures

as permitted by the Federal Rules of Civil Procedure, by the local rules of the Western District of

Texas, and by order of the Court, including the Court’s Order Governing Proceedings.

       For each Asserted Claim, Plaintiff identifies the following Accused Instrumentalities of

which it is currently aware. The identification of Accused Instrumentalities is based on Plaintiff’s

research and analysis to date, without the benefit of discovery from the Defendant. Plaintiff

reserves the right to add, delete, substitute or otherwise amend this list of Accused


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Instrumentalities based on discovery or other circumstances, in a manner consistent with the

Federal Rules of Civil Procedures, local rules, and standing orders.

         The Accused Instrumentalities include, without limitation, the following:

     •   OnePlus 8 Series Phones (i.e., OnePlus 8 Pro and OnePlus 8) implementing 5G capabilities.

     •   All past, current and future OnePlus products and services that operate in the same or

         substantially similar manner as the specifically identified products and services above and

         described in Exhibit 1.

     •   All past, current and future OnePlus products and services that have the same or

         substantially similar features as the specifically identified products and services above and

         described in Exhibit 1.

         Plaintiff’s infringement contentions apply to the Accused Instrumentalities as well as all

other past, current and future hardware and software products and services developed, made,

used, offered for sale, sold, imported, and provided by OnePlus that contain or makes use of the

Patented Technology.1

         Based upon currently available information, WSOU asserts that OnePlus has infringed

and/or continues to infringe the patent and claims identified in the attached claim charts (the

“Asserted Claims” of the “Patent-in-Suit”).           Infringement claim charts evidencing the

correspondence between (i) the elements of the Asserted Claims, and (ii) the corresponding items

of the accused products are attached hereto. Further, Exhibit 1, which is attached hereto and

incorporated by reference, is an exemplary infringement claim chart identifying specifically where

each limitation of each Asserted Claim is found within each Accused Instrumentality or practiced

by each Accused Instrumentality.


1
    “Patented Technology” means all technologies described in the claims of the Patent-in-Suit.


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       Plaintiff asserts that Defendant has directly infringed and continues to directly infringe the

Asserted Claims literally through the Accused Instrumentalities by making, using, offering for

sale, and/or selling, or importing into the United States the Accused Instrumentalities. To the

extent that Defendant alleges that one or more limitations of the Asserted Claims are not literally

found in the Accused Instrumentalities, Plaintiff alleges that such limitations are found in or

practiced by the Accused Instrumentalities under the doctrine of equivalents. Any differences

alleged to exist between any of the Asserted Claims and any of the Accused Instrumentalities are

insubstantial and that each Accused Instrumentality also meets each limitation under the doctrine

of equivalents as the identified features of the Accused Instrumentality performs substantially the

same function in substantially the same way to achieve substantially the same result as the

corresponding claim limitation. WSOU reserves the right to assert infringement solely under the

doctrine of equivalents with respect to any particular claim element(s), if warranted by discovery,

further analysis, and/or claim constructions in this case.

       Plaintiff further asserts that Defendant has indirectly infringed and continues to indirectly

infringe by actively inducing infringement of one or more of the claims of the Asserted Patent

through the Accused Instrumentalities. Plaintiff also asserts that these third-parties directly

infringe at least one or more of the claims of the Asserted Patent through the manufacture, use,

sale, offer to sell, or importation of the Accused Instrumentalities.

       For example, Defendant has actively induced infringement by encouraging the use of the

Accused Instrumentalities in ways that infringe each Asserted Claim. Defendant knew or should

have known that such encouragement would induce infringement. Defendant has taken active

steps with the specific intent to encourage and cause others to use each Accused Instrumentality

in ways that infringe each Asserted Claim. Such active steps by Defendant with specific intent to




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induce infringement have included, among other things, advertising, promoting, marketing,

making available for use, offering to sell, and/or selling the Accused Instrumentalities to others;

encouraging and influencing others to import, offer to sell, and/or sell the Accused

Instrumentalities; directing and instructing others to use the Accused Instrumentalities in

infringing ways; and by providing the Accused Instrumentalities to others. OnePlus has performed

the aforementioned active steps with the knowledge of the Asserted Patent at least as of the date

when the complaint in this case was filed. OnePlus has known or should have known that the acts

it has induced constitute infringement because, for instance, it has been aware that end users and

resellers will purchase the Accused Instrumentalities will use them, resulting in direct

infringement.

       Further, for instance, the Accused Instrumentalities are known by Defendant to be

especially made or especially adapted for use to infringe the Asserted Patent, and are not staple

articles or commodity of commerce suitable for substantial non-infringing uses. Defendant

contributes to the infringement of the Asserted Patent by making available for use, offering for

sale, selling, and/or importing the Accused Instrumentalities to third parties, who use the Accused

Instrumentalities and/or practice one or more claims of the Asserted Patent. Moreover, Defendant

has had notice of the Asserted Patent at least as of the filing of the Complaint in this case.

       These Infringement Contentions, including Exhibit 1, are based upon publicly-available

information, and Plaintiff’s research and analysis to date. The Accused Instrumentalities involve

confidential, proprietary designs that are not publicly available, and Defendant has not yet

provided discovery. Discovery is ongoing, and Plaintiff anticipates that the subject matter of these

infringement contentions will be the subject of expert discovery. Discovery will provide evidence

of Defendant’s infringement, may lead to the discovery of additional instances of infringement,




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and may also enable identification of additional claims that are infringed by Defendant. Plaintiff

reserves the right to add, delete, substitute, or otherwise further amend these Infringement

Contentions based on discovery or other circumstances, in a manner consistent with the Federal

Rules of Civil Procedures, local rules, and standing orders. Plaintiff explicitly reserves the right

to further modify and/or supplement these contentions with additional or different theories and/or

additional or different evidence. Further, WSOU reserves the right to supplement or revise its

infringement contentions and/or chart, including identification of additional asserted claims, based

on, for example, new versions or variations of one or more of the Accused Instrumentalities that

are later discovered.

PRIORITY DATE

        Each of the Asserted Claims of the ’876 Patent is entitled to a priority date of no later than

November 2, 2001. The subject matter described by the Asserted Claims, however, may have been

conceived and reduced to practice prior to this priority date. WSOU also reserves the right to

identify any portions of the file history as containing evidence of conception and reduction to

practice. Plaintiff’s research and analysis is ongoing and Plaintiff reserves the right to assert that

the claims are entitled to a priority date that is earlier than the above date.




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Dated: May 18, 2021              RESPECTFULLY SUBMITTED,

                                 By: /s/ Jonathan K. Waldrop
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                                        WSOU INVESTMENTS, LLC d/b/a
                                        BRAZOS LICENSING AND
                                        DEVELOPMENT




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                                CERTIFICATE OF SERVICE

       A true and correct copy of the foregoing instrument was served or delivered electronically

to all counsel of record, on this 18th day of May, 2021.

                                                     /s/ Jonathan K. Waldrop
                                                     Jonathan K. Waldrop
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                           Exhibit 1 to
                    WSOU Investments, LLC’s
                    Infringement Contentions
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                        Infringement Claim Chart of U.S. Patent No. 7,477,876 (the “Asserted Patent”)

        The Accused Instrumentalities include, without limitation, OnePlus Technology (Shenzhen) Co., Ltd. (“OnePlus” or
“Defendant”); OnePlus 8 Series Phones (i.e., OnePlus 8 Pro and OnePlus 8) implementing 5G capabilities; all past, current and future
OnePlus products and services that operate in the same or substantially similar manner as the specifically identified products and
services; and all past, current and future OnePlus products and services that have the same or substantially similar features as the
specifically identified products and services.

        WSOU Investments, LLC (“WSOU” or “Plaintiff”) contends that OnePlus, including OnePlus’s employees, directly infringes
each of the Asserted Claims, either literally or under the doctrine of equivalents. WSOU also contends that OnePlus has indirectly
infringed and continues to indirectly infringe by contributing to and actively inducing infringement of one or more of the Asserted
Claims.

       WSOU does not intend this exemplary claim chart to be limiting, and WSOU reserves its rights to pursue other accused
instrumentalities, patent claims, evidence, and infringement arguments in this case.




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Exhibit(s)   Description                             Link
Exhibit A    OnePlus 8 Pro Product Page              https://www.oneplus.com/8-pro/specs
Exhibit B    3GPP TS 38.214 version 15.2.0 Release   https://www.etsi.org/deliver/etsi_ts/138200_138299/138214/15.02.00_60/ts_13
             15                                      8214v150200p.pdf
Exhibit C    5G Terminology                          https://www.5g-networks.net/uncategorized/5g-terminology-the-gnb/
Exhibit D    3GPP TS 38.321 version 15.2.0 Release   https://www.etsi.org/deliver/etsi_ts/138300_138399/138321/15.02.00_60/ts_13
             15                                      8321v150200p.pdf
Exhibit E    Semi-persistent CSI Reporting           https://www.sharetechnote.com/html/5G/5G_CSI_Report.htm
Exhibit F    Bandwidth Part (BWP)                    http://www.techplayon.com/5g-nr-bandwidth-part-bwp/
Exhibit G    Product Part(Full Description)          https://www.oneplus.com/8?from=head




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           Claims                                          OnePlus 8 and 8 Pro (The accused products)
1Pre. A method for          The accused products practice a method for transmitting channel quality information in a wireless
transmitting channel        communication system comprising at least one base station and at least one mobile station.
quality information in a
wireless                    OnePlus 8 series mobile devices (i.e., OnePlus 8 Pro and OnePlus 8) are the latest releases of OnePlus that
communication system        support 5G in their Mobiles.
comprising at least one
base station and at least   OnePlus 8 series comprises of 5G supported Qualcomm Snapdragon 865 processor along with the Qualcomm
one mobile station, the     Snapdragon X55 5G Modem-RF system for transmission of signals (i.e., Channel Quality Information), as shown
method comprising:          in Fig. 1 and Fig. 2.




                                                              Citation 1: OnePlus 8 Pro Specifications




                                                                                Fig. 1
                               Source: https://www.oneplus.com/8-pro/specs, Page 1 and 2, Last Accessed on April 27, 2021, Exhibit A




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                                     Citation 2: OnePlus 8 Specifications




                                                      Fig. 2
     Source: https://www.oneplus.com/8?from=head, Page 4, Last Accessed on April 27, 2021, Exhibit G


Qualcomm Snapdragon 865 processor along with X55 RF modem functions on the 3GPP release 15
specifications of 5G technology. In specific, the 3gpp 38.214 is a 5G based standard that specifies and establishes
the characteristics of the physicals layer procedures of data channels for 5G-NR.


According to the 3GPP standard, TS 38.214, the User Equipment (i.e., UE), such as OnePlus 8 series (i.e., mobile
station) reports (i.e., transmits) the channel state information (CSI) that comprises of channel quality indicator
(i.e., channel quality information), in a 5G telecommunication network. Further, the CSI reporting is controlled
by gNB (i.e., base station). See Fig. 3 & Fig. 4.




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                                                                  Citation 3: UE reports CSI




                                                                             Fig. 3
                           Source:https://www.etsi.org/deliver/etsi_ts/138200_138299/138214/15.02.00_60/ts_138214v150200p.pdf,
                                                       Page 31, Last Accessed on April 27, 2021, Exhibit B


                                                      Citation 4: gNB is 5G terminology for base station




                                                                             Fig. 4
                         Source: https://www.5g-networks.net/uncategorized/5g-terminology-the-gnb/, Page 1, Last Accessed on April
                                                                       27, 2021, Exhibit C


1a. varying a rate for   The accused products practice a method that comprises, varying a rate for reporting channel quality information
reporting channel        from a mobile station to a base station as a function of the presence or absence of a reception of a data
quality information      transmission at the mobile station.


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from a mobile station to
a base station as a        One Plus 8 Pro supports 5G based standards such as 3gpp 38.214.
function of the presence
or absence of a            The UE (e.g., One Plus 8 Pro) is configured with CSI-ReportConfig reporting settings to report CSI (i.e., CQI)
reception of a data        to gNB in a particular periodicity and time slots. See Fig. 5.
transmission at the
mobile station,                                Citation 5: UE configured with CSI Reporting & Resource Settings




                                                                                 Fig. 5
                             Source:https://www.etsi.org/deliver/etsi_ts/138200_138299/138214/15.02.00_60/ts_138214v150200p.pdf,
                                                         Page 32, Last Accessed on April 27, 2021, Exhibit B


                           The Reporting Settings enables the UE to configure the periodicity and time slots to adjust (i.e., vary) the
                           transmission rate of the CSI reporting to the gNB. The reporting timing can be set as aperiodic, periodic, Semi-
                           persistent. Based on the configured Reporting Settings, the UE will adjust (i.e., vary) the pattern of the CSIs
                           transmission to the gNB. See Fig. 6 and Fig. 7.




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                             Citation 6: Various CSI Reporting settings




                                               Fig. 6
 Source:https://www.etsi.org/deliver/etsi_ts/138200_138299/138214/15.02.00_60/ts_138214v150200p.pdf,
                         Page 32, Last Accessed on April 27, 2021, Exhibit B


                                    Citation 7: Resource settings




                                               Fig. 7
 Source:https://www.etsi.org/deliver/etsi_ts/138200_138299/138214/15.02.00_60/ts_138214v150200p.pdf,
                         Page 32, Last Accessed on April 27, 2021, Exhibit B




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One of the configured reporting settings is Semi-persistent CSI reporting. The semi-persistent CSI reporting is
a combination of aperiodic and periodic reporting (i.e., Varying reporting rate). Further, the configured semi-
persistent CSI reporting settings are triggered by BWP command or trigger (i.e., a function of the presence or
absence of reception of data transmission). BWP stands for Bandwidth Part, which a contiguous set of physical
resource blocks on a given carrier, and BWP has frequency and time as its attributes. See Fig. 6 to Fig. 10.


           Citation 8: Semi-persistent CSI Reporting- Combination of Periodic and Aperiodic




                                                     Fig. 8
 Source: https://www.sharetechnote.com/html/5G/5G_CSI_Report.html, Page 10, Last Accessed on April 27,
                                                2021, Exhibit E




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                                          Citation 9: About BWP




                                                  Fig. 9
 Source: http://www.techplayon.com/5g-nr-bandwidth-part-bwp/, Page 1, Last Accessed on April 27, 2021,
                                                Exhibit F




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                                                               Citation 10: BWP Activation/Deactivation




                                                                                   Fig. 10
                              Source: http://www.techplayon.com/5g-nr-bandwidth-part-bwp/, Page 1, Last Accessed on April 27, 2021,
                                                                                  Exhibit F


1b. wherein the mobile      The accused products practice a method wherein the mobile station reports channel quality information at a first
station reports channel     rate in the absence of a reception of a data transmission from the base station and, upon detection of a reception
quality information at a    of a data transmission from the base station, the mobile station reports channel quality information at a second
first rate in the absence   rate for a prescribed duration.
of a reception of a data
transmission from the       Fig. 11 to Fig. 14 shows that the UE can be configured with semi-persistent CSI reporting based on BWP
base station and, upon      command or trigger. The UE configured with semi-persistent CSI reporting without any command or trigger
detection of a reception    from the network (i.e., absence of reception of data transmission from the base station), would be transmitting
of a data transmission      CSI report in an aperiodic manner (i.e., first rate). Once the BWP command or trigger is received from the
from the base station,      network (i.e., upon detection of reception of data transmission from the base station), the UE transmits in a
the mobile station          periodic manner (i.e., second rate) for a particular duration (i.e., prescribed duration).


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reports channel quality
information at a second                                    Citation 11: CSI Reporting settings
rate for a prescribed
duration.




                                                                         Fig. 11
                           Source:https://www.etsi.org/deliver/etsi_ts/138200_138299/138214/15.02.00_60/ts_138214v150200p.pdf,
                                                   Page 32, Last Accessed on April 27, 2021, Exhibit B


                                                             Citation 12: Resource settings




                                                                         Fig. 12
                           Source:https://www.etsi.org/deliver/etsi_ts/138200_138299/138214/15.02.00_60/ts_138214v150200p.pdf,
                                                   Page 32, Last Accessed on April 27, 2021, Exhibit B


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              Citation 13: Semi-persistent CSI Reporting - First Rate and Second Rate




                                               Fig. 13
Source: https://www.sharetechnote.com/html/5G/5G_CSI_Report.html, Page 10, Last Accessed on April 27,
                                           2021, Exhibit E


                   Citation 14: Semi-persistent CSI reporting - command/trigger




                                               Fig. 14




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                            Source:https://www.etsi.org/deliver/etsi_ts/138200_138299/138214/15.02.00_60/ts_138214v150200p.pdf,
                                                         Page 33, Last Accessed on April 27, 2021, Exhibit B




4. The method             The accused products practice a method wherein the second rate is faster than the first rate.
according to claim
1, wherein the second     The UE configured with semi-persistent CSI reporting without any command or trigger from the network would
rate is faster than the   be transmitting CSI report in an aperiodic manner (i.e., first rate). Once the BWP command or trigger is received
first rate.               from the network, it starts transmitting in a periodic manner (i.e., second rate) for a particular duration.


                          As an example, the time taken by UE to transmit the CSI report in a periodic manner is less as compared to
                          aperiodic CSI reporting. As the time taken in case of periodic CSI reporting is lesser than aperiodic CSI reporting,
                          it implies that the rate of periodic CSI reporting (i.e., second rate) is faster than aperiodic CSI reporting rate (i.e.,
                          first rate). See Fig. 15.




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                 Citation 15: CSI Reporting rate in periodic and aperiodic manner




                                               Fig. 15
Source: https://www.sharetechnote.com/html/5G/5G_CSI_Report.html, Page 10, Last Accessed on April 27,
                                           2021, Exhibit E




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9Pre. A method for          The accused products practice a method for adapting the rate of reporting channel quality information in a
adapting the rate of        wireless communication system including at least one base station and at least one mobile station.
reporting channel
quality information in a    OnePlus 8 series comprises of 5G supported Qualcomm Snapdragon 865 processor along with the Qualcomm
wireless                    Snapdragon X55 5G Modem-RF system for transmission of signals (i.e., Channel Quality Information), as shown
communication system        in Fig. 16 and Fig. 17.
including at least one
base station and at least
one mobile station, the                                      Citation 16: OnePlus 8 Pro Specifications
method comprising:




                                                                                Fig. 16
                               Source: https://www.oneplus.com/8-pro/specs, Page 1 and 2, Last Accessed on April 27, 2021, Exhibit A




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                                     Citation 17: OnePlus 8 Specifications




                                                        Fig. 17
     Source: https://www.oneplus.com/8?from=head, Page 4, Last Accessed on April 27, 2021, Exhibit G


Qualcomm Snapdragon 865 processor along with X55 RF modem functions on the 3GPP release 15
specifications of 5G technology. In specific, the 3gpp 38.214 is a 5G based standard that specifies and establishes
the characteristics of the physicals layer procedures of data channels for 5G-NR.


According to the 3GPP standard, TS 38.214, the User Equipment (i.e., UE), such as OnePlus 8 series (i.e., mobile
station) reports (i.e., transmits) the channel state information (CSI) that comprises of channel quality indicator
(i.e., channel quality information), in a 5G telecommunication network. Further, the CSI reporting is controlled
by gNB (i.e., base station). See Fig. 18 and Fig. 19.




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                                       Citation 18: UE reports CSI




                                                  Fig. 18
  Source:https://www.etsi.org/deliver/etsi_ts/138200_138299/138214/15.02.00_60/ts_138214v150200p.pdf,
                            Page 31, Last Accessed on April 27, 2021, Exhibit B


                           Citation 19: gNB is 5G terminology for base station




                                                  Fig. 19
Source: https://www.5g-networks.net/uncategorized/5g-terminology-the-gnb/, Page 1, Last Accessed on April
                                            27, 2021, Exhibit C


One Plus 8 Pro supports 5G based standards such as 3gpp 38.214.




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The UE (e.g., One Plus 8 Pro) is configured with CSI-ReportConfig reporting settings to report CSI (i.e., CQI)
to gNB in a particular periodicity and time slots. See Fig. 20.


                   Citation 20: UE configured with CSI Reporting & Resource Settings




                                                     Fig. 20
  Source: https://www.etsi.org/deliver/etsi_ts/138200_138299/138214/15.02.00_60/ts_138214v150200p.pdf,
                              Page 32, Last Accessed on April 27, 2021, Exhibit B


The Reporting Settings enables the UE to configure the periodicity and time slots to adjust (i.e., vary) the
transmission rate of the CSI reporting to the gNB. The reporting timing can be set as aperiodic, periodic, Semi-
persistent. Based on the configured Reporting Settings, the UE will adjust (i.e., vary) the pattern of the CSIs
transmission to the gNB. See Fig. 21 and Fig. 22.




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                            Citation 21: Various CSI Reporting settings




                                               Fig. 21
 Source:https://www.etsi.org/deliver/etsi_ts/138200_138299/138214/15.02.00_60/ts_138214v150200p.pdf,
                         Page 32, Last Accessed on April 27, 2021, Exhibit B


                                   Citation 22: Resource settings




                                               Fig. 22
 Source:https://www.etsi.org/deliver/etsi_ts/138200_138299/138214/15.02.00_60/ts_138214v150200p.pdf,
                         Page 32, Last Accessed on April 27, 2021, Exhibit B




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9a. reporting channel       The accused product practices a method comprising reporting channel quality information from the at least one
quality information         mobile station to the at least one base station at a first rate in the absence of a reception of a data transmission at
from the at least one       the at least one mobile station.
mobile station to the at
least one base station at   One of the configured reporting settings is Semi-persistent CSI reporting. The semi-persistent CSI reporting is
a first rate in the         a combination of aperiodic and periodic reporting (i.e., Varying reporting rate). Further, the configured semi-
absence of a reception      persistent CSI reporting settings are triggered by BWP command or trigger (i.e., a function of the presence or
of a data transmission      absence of reception of data transmission). BWP stands for Bandwidth Part, which a contiguous set of physical
at the at least one         resource blocks on a given carrier, and BWP has frequency and time as its attributes. See Fig. 23 to Fig. 27.
mobile station; and
                                                               Citation 23: Various CSI Reporting settings




                                                                                   Fig. 23
                              Source:https://www.etsi.org/deliver/etsi_ts/138200_138299/138214/15.02.00_60/ts_138214v150200p.pdf,
                                                           Page 32, Last Accessed on April 27, 2021, Exhibit B




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                                   Citation 24: Resource settings




                                               Fig. 24
 Source:https://www.etsi.org/deliver/etsi_ts/138200_138299/138214/15.02.00_60/ts_138214v150200p.pdf,
                         Page 32, Last Accessed on April 27, 2021, Exhibit B


        Citation 25: Semi-persistent CSI Reporting- Combination of Periodic and Aperiodic




                                               Fig. 25
Source: https://www.sharetechnote.com/html/5G/5G_CSI_Report.html, Page 10, Last Accessed on April 27,
                                           2021, Exhibit E




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                                       Citation 26: About BWP




                                                Fig. 26
 Source: http://www.techplayon.com/5g-nr-bandwidth-part-bwp/, Page 1, Last Accessed on April 27, 2021,
                                               Exhibit F




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                                   Citation 27: BWP Activation/Deactivation




                                                       Fig. 27
  Source: http://www.techplayon.com/5g-nr-bandwidth-part-bwp/, Page 1, Last Accessed on April 27, 2021,
                                                     Exhibit F


As shown in Fig. 23, Fig. 25, and Fig. 28, the UE can be configured with semi-persistent CSI reporting based on
BWP command or trigger. The UE configured with semi-persistent CSI reporting without any command or
trigger from the network (i.e., absence of reception of data transmission from the base station), would be
transmitting CSI report in an aperiodic manner (i.e., first rate). Once the BWP command or trigger is received
from the network (i.e., upon detection of reception of data transmission from the base station), the UE transmits
in a periodic manner (i.e., second rate) for a particular duration.




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                                                   Citation 28: Semi-persistent CSI reporting - command/trigger




                                                                                  Fig. 28
                             Source:https://www.etsi.org/deliver/etsi_ts/138200_138299/138214/15.02.00_60/ts_138214v150200p.pdf,
                                                          Page 33, Last Accessed on April 27, 2021, Exhibit B


9b. in the presence of a   The accused products practice a method comprising in the presence of a reception of a data transmission at the
reception of a data        at least one mobile station, adapting the rate for reporting channel quality information from the at least one mobile
transmission at the at     station to the at least one base station from the first rate to a second rate for a prescribed duration.
least one mobile
station, adapting the      Fig. 29 to Fig. 31 Error! Reference source not found.show that the UE can be configured with semi-persistent
rate for reporting         CSI reporting based on BWP command or trigger. The UE configured with semi-persistent CSI reporting without
channel quality            any command or trigger from the network (i.e., absence of reception of data transmission from the base station),
information from the at    would be transmitting CSI report in an aperiodic manner (i.e., first rate). Once the BWP command or trigger is

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least one mobile station    received from the network (i.e., upon detection of reception of data transmission from the base station), the UE
to the at least one base    transmits in a periodic manner (i.e., second rate) for a particular duration (i.e., prescribed duration).
station from the first
rate to a second rate for                                     Citation 29: Various CSI Reporting settings
a prescribed duration.




                                                                                   Fig. 29
                              Source:https://www.etsi.org/deliver/etsi_ts/138200_138299/138214/15.02.00_60/ts_138214v150200p.pdf,
                                                           Page 32, Last Accessed on April 27, 2021, Exhibit B


                                             Citation 30: Semi-persistent CSI Reporting - First Rate and Second Rate




                                                                                   Fig. 30
                             Source: https://www.sharetechnote.com/html/5G/5G_CSI_Report.html, Page 10, Last Accessed on April 27,
                                                                              2021, Exhibit E



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                                                Citation 31: Semi-persistent CSI reporting - command/trigger




                                                                               Fig. 31
                            Source:https://www.etsi.org/deliver/etsi_ts/138200_138299/138214/15.02.00_60/ts_138214v150200p.pdf,
                                                        Page 33, Last Accessed on April 27, 2021, Exhibit B


10. The method            The accused products practice a method wherein the second rate is faster than the first rate.
according to claim
9, wherein the second     Refer to supporting evidence of claim element 4.
rate is faster than the
first rate.




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